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OF TEXAS







NO. WR-65,192-01






DWAIN A. MOORE SR., Relator


v.


 HARRIS COUNTY DISTRICT COURT







ON APPLICATION FOR A WRIT OF MANDAMUS


CAUSE NO. 929477 IN THE 183RD DISTRICT COURTFROM HARRIS COUNTY




	Per curiam.


O R D E R



	Relator has filed a motion for leave to file a writ of mandamus pursuant to the original
jurisdiction of this Court. In it, he contends that he filed an application for a writ of habeas corpus
in the 183rd District Court of Harris County, that more than 35 days have elapsed, and that the
application has not yet been forwarded to this Court.  

	 In these circumstances, additional facts are needed. The respondent, the District Clerk of 
Harris County, is ordered to file a response with this Court by submitting the record on such habeas
corpus application or a copy of a timely-entered order designating issues to be investigated, see
McCree v. Hampton, 824 S.W.2d 578 (Tex. Crim. App. 1992); Martin v. Hamlin, 25 S.W.3d 718
(Tex. Crim. App. 2000), or by stating the nature of any applications filed by Relator such that they
are not filed pursuant to Article 11.07, § 3, Tex. Code Crim. Proc., or that no applications by
Relator have been filed. This application for leave to file a writ of mandamus will be held in
abeyance until the respondent has submitted the appropriate response. Such response shall be
submitted within 30 days of the date of this order.


Filed: August 9, 2006

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